                         IN THE SUPREME COURT OF THE STATE OF NEVADA


                  KEVIN LEE MOSS,                                       No 66227
                  Appellant,
                  vs.                                                   FILED
                  THE STATE OF NEVADA,                                  DEC 1 1 2014
                  Respondent.
                                                                     TRACE K. LINDEMAN
                                                                              ../PREME COURT
                                                                   CLERKg :.:1/
                                                                   BY
                                                                         DEPUTY CLERK
                  KEVIN LEE MOSS,                                       No. 66229
                  Appellant,
                  vs.
                  THE STATE OF NEVADA,
                  Respondent.


                  KEVIN LEE MOSS,                                       No. 66230
                  Appellant,
                  vs.
                  THE STATE OF NEVADA,
                  Respondent.




                                        ORDER OF AFFIRMANCE

                             These are proper person appeals from an order of the district
                  court denying identical post-conviction petitions for a writ of habeas
                  corpus.' Fifth Judicial District Court, Nye County; Robert W. Lane,


                        'These appeals have been submitted for decision without oral
                  argument, NRAP 34(0(3), and we conclude that the records are sufficient
                  for our review and briefing is unwarranted. See Luckett v. Warden, 91
                  Nev. 681, 682, 541 P.2d 910, 911 (1975).



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                  Judge. We elect to consolidate these appeals for disposition.     See NRAP
                  3(b)(2).
                                Appellant filed his petitions on April 11, 2014, nearly three
                  years after the entry of the judgments of conviction on August 23, 2011. 2
                  Appellant's petitions were therefore untimely filed and procedurally
                  barred absent a demonstration of good cause—cause for the delay and
                  undue prejudice. See NRS 34.726(1).
                                Appellant appeared to suggest that he had good cause to
                  excuse the procedural bar because, due at least in part to trial counsel's
                  ineffective assistance, he was ignorant of the sentence actually imposed
                  until he went before the Parole Board. Appellant failed to demonstrate
                  that an impediment external to the defense prevented him from raising
                  his claim in a timely post-conviction petition for a writ of habeas corpus.
                  See Hathaway v. State, 119 Nev. 248, 252-53, 71 P.3d 503, 506 (2003).
                  Moreover, his claim of ignorance was belied by the record as appellant was
                  apprised at his sentencing hearing that the sentence in one of his cases
                  was to be served consecutively to the others.    Cf. Hargrove v. State, 100
                  Nev. 498, 502-03, 686 P.2d 222, 225 (1984). We therefore conclude that


                         2 No direct appeals were taken. We note that while denying
                  appellant's petitions as procedurally barred, the district court nevertheless
                  gave appellant partial relief by filing amended judgments of conviction in
                  two of the three cases, granting 66 days' presentence credit in the case
                  underlying Docket No. 66230, and reducing the minimum term of
                  imprisonment in the case underlying Docket No. 66229. Those
                  amendments are not at issue in the instant appeal and thus do not affect
                  the analysis of the procedural bar. See Sullivan v. State, 120 Nev. 537,
                  541, 96 P.3d 761, 764 (2004).




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                     the district court did not err in denying appellant's petition as
                     procedurally barred, and we
                                  ORDER the judgment of the district court AFFIRMED. 3




                     Pickering


                     cc: Hon. Robert W. Lane, District Judge
                          Kevin Lee Moss
                          Nye County District Attorney
                          Attorney General/Carson City
                          Nye County Clerk




                           3 We  have reviewed all documents that appellant has submitted in
                     proper person to the clerk of this court in these matters, and we conclude
                     that no relief based upon those submissions is warranted. To the extent
                     that appellant has attempted to present claims or facts in those
                     submissions which were not previously presented in the proceedings
                     below, we have declined to consider them in the first instance.



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